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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


  UNITED STATES OF AMERICA                  No. 20-cr-10263-PBS

        v.                                  Leave to file granted
                                            January 28, 2022
  JIM BAUGH, et al.                         D.E. 168


                            REPLY IN SUPPORT OF
                 DEFENDANT JIM BAUGH’S MOTION TO DISMISS
                COUNTS X, XI, XIII, AND XIV OF THE INDICTMENT




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                                         INTRODUCTION

        The prosecution argues Counts 11 and 12 properly allege “tampering” in violation of 18

U.S.C. § 1512(b)(3), because the Indictment claims Defendant Jim Baugh engaged in “misleading

conduct” by lying to a Natick Police Department detective and an eBay investigator. D.E. 124

(“Opp.”) 13-19. But § 1512(b)(3) has both conduct and intent elements, and the Indictment fails

to allege that Baugh lied to a detective or investigator with the specific intent “to prevent, hinder,

or delay” any communication to a federal official. Because the Indictment does not charge Baugh

with trying to stop anyone from talking to a federal agent, it fails to allege the intent element of

§ 1512(b)(3). Nor does it allege that, at the time when Baugh supposedly lied, it was “reasonably

likely” that a local police matter would evolve into a federal cyberstalking investigation.

        The prosecution also argues Count 13 properly alleges “obstruction” in violation of 18

U.S.C. § 1519 because the Indictment claims that Baugh “falsified” a document, namely “Bay

Area POIs_August 2009.docx.” Opp. 22-28. Like § 1512(b)(3), however, 18 U.S.C. § 1519 has

both conduct and intent elements. Although the Indictment states that Baugh intended to use the

“persons of interest” list to mislead local police, it fails to allege that he – or anyone else acting at

his direction – created a false document or inserted any false entry into a document. Put simply, it

does not say that anything in “Bay Area POIs_August 2009.docx” was inaccurate. Because the

Indictment only accuses Baugh of using a true document for a misleading purpose, not creating a

false document in the first place, it fails to allege the conduct element of § 1519.

        Finally, regarding venue, the prosecution cites § 1512(i), an inapplicable venue provision

that applies only to charges of obstructing “official proceedings”; relies on out-of-circuit authority

that the First Circuit has expressly rejected, see United States v. Salinas, 373 F.3d 161 (1st Cir.

2004) (rejecting United States v. Angotti, 105 F.3d 539, 542 (9th Cir. 1997)); and erroneously

argues that venue is appropriate because Baugh “intended” to impede an investigation in
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Massachusetts. Opp. 28-39. Under applicable law, venue turns on conduct, not intent. See United

States v. Seward, 967 F.3d 57 (1st Cir. 2020). Baugh has a constitutional right to answer criminal

charges in the district where his alleged criminal conduct occurred. For the charges that Baugh lied

to an eBay investigator or destroyed eBay documents at the company’s headquarters in San Jose,

the proper venue is California, not Massachusetts.

                                          ARGUMENT

I.     Counts X and XI should be dismissed because the Indictment fails to allege that
       Baugh acted with the specific intent to “hinder, delay, or prevent” communication to
       any federal official, or that when he supposedly lied to a local detective and eBay
       investigator, it was “reasonably likely” that any federal investigation would occur.

       A.      The Indictment fails to allege that Baugh engaged in “misleading conduct”
               with the specific intent to “hinder, delay, or prevent” communication of any
               information.

       The prosecution muddles the conduct and intent elements of 18 U.S.C. § 1512(b)(3),

focusing on the former but disregarding the latter, which the Indictment fails to allege. To commit

federal witness tampering, a person must engage in proscribed activity, such as “misleading

conduct,” with the specific intent “to hinder, delay, or prevent the communication . . . of

information.” While making false statements might constitute “misleading conduct,” it only

violates § 1512(b)(3) if the statements were intended to prevent communication. Absent that

specific intent, “telling tales” to federal investigators, or witnesses who might later talk to them,

might implicate 18 U.S.C. § 1001, but it does not violate § 1512.

       Here, the Indictment alleges that Baugh engaged in “misleading conduct” by lying to a

NPD detective and eBay investigator, but it fails to allege, or include any facts that permit a

reasonable inference, that Baugh acted with the specific intent “to prevent, hinder, or delay” any

communication by those potential witnesses to federal investigators. To the contrary, and as the

Opposition implicitly concedes, the prosecution’s theory is that Baugh wanted the detective and


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investigator to pass along his alleged false statements to others, including potential federal agents

– that is, to cause communications rather than hinder, delay, or prevent them.

       While killing (or threatening to kill) a witness to silence him or her is the paradigmatic

example of federal witness tampering, it is easy to imagine “misleading conduct” that would also

fall within the limited scope of § 1512(b)(3). For example, if a defendant lied to a would-be grand

jury witness, giving the witness the wrong date, time, or address for his appearance, with the

specific intent “to prevent” the witness from testifying, that would constitute misleading conduct

intended to prevent the communication of information by a witness in a federal investigation in

violation of § 1512(b)(3). But that is not what the Indictment alleges Baugh did.

       Neither United States v. Bailey, 405 F.3d 102 (1st Cir. 2005), nor United States v. Veal,

153 F.3d 1233 (11th Cir. 1998), held otherwise. In those cases, the defendants did not make this

same argument about the specific intent element of § 1512(b)(3), and the decisions did not address

it. The courts focused on other issues, such as whether the prosecution adequately established any

federal nexus. Regardless, whatever the facts of those cases, the language of the statute is clear:

witness tampering requires a specific intent to “tamper” with – meaning silence – a witness. In this

case, the Indictment does not allege that Baugh lied to a NPD detective, eBay investigator, or

anyone else to prevent any communication, and the only reasonable reading of the Indictment is

that Baugh had the opposite purpose.

       B.      The Indictment fails to allege that any federal investigation was “reasonably
               likely” to occur and, thus, that Baugh tampered with a “federal” witness.

       Although the likelihood of a federal investigation is typically a sufficiency concern, as the

prosecution observes, Opp. 14-15 (citing sufficiency cases), the same issue can also be a pleading

problem. The prosecution concedes that a “federal nexus” is an element of § 1512(b)(3), and

“under the Fowler standard,” it requires that communications to a federal officer be “reasonably


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likely.” Opp. 14-15 (citing, inter alia, United States v. Weadick, 15 F.4th 1 (1st Cir. 2021), and

United States v. Byrne, 435 F.3d 16 (1st Cir. 2006)). But, here, the Indictment against Baugh fails

to allege that, when he supposedly lied to a NPD detective or eBay investigator, a federal

investigation was “reasonably likely,” nor does the Indictment include facts from which that

inference could be reasonably drawn.

       The Opposition cites United States v. Moore, No. 20-cr-19, 2021 U.S. Dist. LEXIS 115167

(E.D. Wis. Apr. 27, 2021), and United States v. Hamilton, No. 1:15-cr-0240-TBD, 2016 U.S. Dist.

LEXIS 56713, at *9-10 (N.D. Ga. Apr. 28, 2016), but neither case helps the prosecution. Moore

involved charges of tampering with an “official proceeding” in violation of § 1512(b)(1). The court

ruled that, because § 1515 defines “official proceeding” to mean “federal proceeding,” id. at *10,

the Indictment did not need to spell out “official federal proceeding.” Id. at *6 (affirming “the

sensible principle that an indictment need not set forth everything that’s defined in the statute”).

This case, in contrast, involves charges under § 1512(b)(3), so the irrelevant definition of “official

proceeding” cannot fix the defective indictment.1 Hamilton is also distinguishable. Like United

States v. Bailey, 405 F.3d 102 (1st Cir. 2005), it involved excessive force allegations by inmates

against guards. In that situation, a federal investigation is reasonably likely, if not all-but certain,

to occur. See id. at *8 (citing United States v. Hunt, 526 F.3d 738, 742 (11th Cir. 2008) (noting

defendant police officer knew “the federal government would investigate and prosecute civil rights

violations such as willful uses of excessive force”)). The same is not true, however, for allegations

of stalking or harassment among private citizens.



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  This case more closely resembles United States v. Grills, No. 18-cr-228 (E.D. Wis.), which
Moore distinguishes but the prosecution overlooks. In Grills, the defendant – like Baugh – was
charged under § 1512(b)(3), and the judge granted his motion to dismiss the tampering charge
because the indictment failed to allege interference with a federal investigation. See id., D.E. #31,
attached as Ex. A. The same result should obtain here for the same reason.
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       The pleading problem is not merely semantic. The prosecution did not simply forget the

word “federal” in the phrase “federal investigation” Instead, the Indictment fails to include factual

allegations to establish that, at the time when Baugh supposedly engaged in misleading conduct, a

federal investigation was “reasonably likely” in these unusual circumstances. The contention that

Baugh “knew that NPD was investigating,” Opp. 21, gave him no reason to think the FBI might

conduct its own investigation.

       If the prosecution were correct, and the Indictment in this case were sufficient, there would

be no limit to the potential reach of § 1512(b)(3). According to the prosecution, every time that

any person engages in harassment across state lines, whether by phone, email, text, or an unwanted

delivery, the possibility of a federal investigation is not “remote, outlandish, or simply

hypothetical.” Opp. 14 (quoting Fowler v. United States, 563 U.S. 668, 678 (2011)). That sweeping

interpretation, which provides no meaningful limiting principle for federal jurisdiction, would

dramatically expand the federal witness tampering statute to include countless crimes that have

been traditionally addressed by state and local law enforcement officials.

II.    Count XIII should be dismissed because the Indictment fails to allege that Baugh, or
       anyone else acting at his direction, created a “false” document.

       Regarding 18 U.S.C. § 1519, the prosecution again muddles the conduct and intent

elements, but this time, it over-emphasizes the latter and fails to consider the former, which the

Indictment also fails to allege. Opp. 25-27. To unlawfully obstruct a federal investigation, a person

must engage in proscribed conduct – specifically, “altering, destroying, mutilating, concealing,

covering up, falsifying or making a false entry in any record, document or tangible object,” with

the specific intent “to impede, obstruct, or influence” the investigation. Shredding incriminating

documents might constitute “destroying . . . any record,” but it only violates § 1519 if done in

order to impede an investigation.


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       The problem with Count XIII, the obstruction charge related to the creation of “Bay Area

POIs_August 2019.docx,” is that the Indictment fails to allege that, whatever his intent, Baugh

engaged in conduct within the scope of § 1519. Even assuming, as the prosecution argues, that

Baugh intended to mislead an NPD detective (Baugh has pleaded not guilty to all charges), he did

not “alter, destroy, mutilate, conceal, cover up, falsify, or make any false entry” in any document.

Absent such conduct, no amount of nefarious intent amounts to federal obstruction. That was the

bottom line in Yates v. United States, 574 U.S. 528 (2015); even though the defendant admittedly

threw his undersized catch back in the ocean with the specific intent to obstruct a federal

investigation into his violation of fishing regulations, he did not destroy “documents, records, or

tangible objects” and, thus, did not violate § 1519.

       Here, the prosecution asserts that Baugh “falsified” the eBay document, titled “Bay Area

POIs_August 2019.docx,” Opp. 26, but the Indictment fails to allege that the document, or any

entry in it, was false, inaccurate, or untrue. The Indictment asserts only that Baugh intended to use

the “persons of interest” list for a misleading purpose. In other words, the alleged falsehood was

not in the document itself, but supposedly in Baugh’s head. And using a true document for a

misleading purpose does not constitute “falsifying” a document.

       United States v. Rowland, 826 F.3d 100 (2d Cir. 2016), which the prosecution cites, Opp.

26, involved a different argument than the one Baugh advances here. Rowland was convicted of

“falsifying” two contracts. On appeal, he argued that, for the purpose of § 1519, “‘falsify’ means

only to tamper with a preexisting document, not to create a new document from whole cloth.” Id.

at 107-08. Rejecting his argument, the Second Circuit held “someone ‘falsifies’ a document when

he creates a document that misrepresents the truth.” Id. at 108; see United States v. Gonzalez, 906

F.3d 784, 795 (9th Cir. 2018) (following Rowland and rejecting same argument that § 1519 is



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limited to altering preexisting documents). The two contracts at issue were “falsified” in the sense

that they “misrepresented the truth”: to avoid FEC reporting requirements, Rowland drafted

contracts to pretend that he provided business consulting advice to companies and charities when,

in fact, he gave only political consulting advice to campaigns. In short, the contracts themselves

were inaccurate documents, not accurate ones that Rowland used for some misleading purpose.

       In Rowland, the Second Circuit explained:

       [T]he broad language of § 1519 encompasses the creation of documents—like the
       contracts at issue—that misrepresent the true nature of the parties’ negotiations,
       when the documents are created in order to frustrate a possible future government
       investigation.

826 F.3d at 105. That concise summary captures both elements of § 1519: falsifying a document

that “misrepresent[s]” the true facts and acting with the specific intent “to frustrate” a federal

investigation. Regarding the conduct element, courts recognize that “investigations can be

obstructed just as readily by creating false documents as by altering documents that already exist.”

Gonzalez, 906 F.3d at 795 (emphasis added). Here, however, the Indictment alleges only that

Baugh intended to use “Bay Area POIs_August 2019.docx” to mislead the local police, but not

that he – or anyone acting at his direction – “falsified” that document to misrepresent any true facts

about eBay’s list of “persons of interest.”

       To the extent that the prosecution contends that United States v. Norman, 87 F. Supp. 3d

737 (E.D. Pa. 2015), held that creating a true document for a false purpose violates § 1519, because

it constitutes “covering up” or “concealing,” Opp. 27, the decision says no such thing. In Norman,

the defendant was convicted, as part of a large RICO prosecution, of “falsifying records in a federal

investigation” because he took nearly $4,000 from a driver during a traffic stop but wrote an

inaccurate police report that “falsely stated that no cash had been seized.” Id. at 742. On appeal,

the defendant argued his omission of true facts did not constitute a “false entry” in his report. The


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court rejected that argument, ruling § 1519 “is concerned with any intentionally deceptive

behavior,” including material omissions, “regarding records, documents, and objects.” Id. at 745.

In this case, Baugh is not accused of omitting anyone or anything from the “POIs” list. Nor does

the Indictment allege any “deception” in the contents of that document itself. As the statutory

language makes clear, the relevant conduct, whether covering up, concealing, destroying, or

falsifying, must relate to “records, documents, or tangible things,” not more generally to criminal

activity, such as stalking, that a person aims to keep secret or hide from federal investigators. Put

another way, covering up or concealing the contents of a document could violate § 1519, but using

a true document to cover up or conceal a crime would not.

       Not surprisingly, in trying to stretch § 1519 to cover the creation of true documents for

false purposes, the prosecution also cites the stray reference in the legislative history to

“fabrication.” Opp. 26-27. But the prosecution ignores all Baugh’s arguments on that very point,

including that the unambiguous language of the statute includes “alter, destroy, conceal” and other

verbs, but not include “fabricate.” Mem. 13 (predicting, accurately as it turns out, that “the

prosecution may point to the legislative history”).

III.   Counts XI, XIII, and XIV should be dismissed for lack of venue, because the
       Indictment alleges that Baugh lied to an eBay investigator and destroyed eBay
       documents while in California.

       Perhaps sensing that its choice of venue is vulnerable to challenge, the prosecution insists

that there is no unfairness in trying Baugh in Massachusetts because he traveled here and

committed at least some crimes in this district. Opp. 39. That “no harm, no foul” approach ignores

both the venue rule’s constitutional basis and the First Circuit’s holding that it must be applied

charge by charge. Baugh may be prosecuted in this Court for the charged stalking offenses, but the

government may not “haul” him across the country to face obstruction charges, based on alleged

conduct that occurred exclusively in California.
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       A.      Documents that Baugh allegedly destroyed in California

       In arguing that Baugh can be prosecuted in Massachusetts for allegedly destroying records

in California, the prosecution relies principally on United States v. Mixon, No. 14-cr-0631-TUC-

JGZ (LAB), 2015 U.S. Dist. LEXIS 139058, at *4-6 (D. Ariz. June 9, 2015), a short, unpublished

report and recommendation that concluded venue was proper in Arizona because the defendant

signed false interrogatories responses in Arizona, even though her attorneys prepared the document

in Washington, D.C., and the BOP received them in Georgia. In this case, the same analysis –

finding venue where the essential conduct occurred – points to venue in California, not

Massachusetts, for the § 1519 charges against Baugh.

       Disregarding the actual holding of Mixon, the prosecution points to dicta that making false

statements was a “continuing offense” that could have been prosecuted in Arizona, Georgia, or

Washington, D.C. Opp. 38. In making that suggestion, Mixon relied on United States v. Angotti,

105 F.3d 539, 542 (9th Cir. 1997), which the First Circuit has expressly “declined to follow”:

       Angotti is of dubious precedential value even in the circuit of its birth. See United
       States v. Marsh, 144 F.3d 1229, 1242 (9th Cir. 1998) (limiting Angotti).
       Furthermore, . . . the case was decided prior to the Supreme Court’s clarification of
       anent venue in [United States v.] Rodriguez-Moreno[, 526 U.S. 275 (1999)] and
       [United States v.] Cabrales[, 524 U.S. 1 (1998)]. We believe Angotti is inconsistent
       with those decisions, and we find its reasoning unpersuasive. Accordingly, we
       decline to follow it.

Salinas, 373 F.3d at 168.

       Moreover, Salinas leaves no doubt that that, based on its “essential conduct elements,”

§ 1519 is a “point-in-time offense, not a continuing offense.” 373 F.3d at 165 (citing United States

v. Rodriguez-Moreno, 526 U.S. 275, 279 (1999)). The crime is complete when the charged records

are allegedly destroyed with intent to obstruct an investigation, and in this case, that supposedly

took place in California, not Massachusetts.



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       B.      False statement that Baugh allegedly made in California

       Regarding the false statements that Baugh allegedly made to an eBay investigator in

California, the prosecution erroneously argues that the specific venue provision in § 1512(i)

applies here (it doesn’t, because this case does not involve an “official proceeding”) and that

Baugh’s alleged intent to obstruct an investigation in Massachusetts establishes venue (it doesn’t,

because venue is based on conduct, not intent).

       The prosecution incorrectly asserts the FBI investigation in this district was an “official

proceeding” for the purpose of the specific venue provision in § 1512(i). In support of that claim,

the prosecution cites United States v. Gonzalez, 922 F.2d 1044 (2d Cir. 1991), a 30-year-old

Second Circuit decision that interpreted “official proceeding” to include “criminal investigation.”

Notably, the First Circuit has never cited Gonzalez or held that a criminal investigation constitutes

an official proceeding for the purpose of § 1512. In fact, in a slightly different context, the First

Circuit has suggested that § 1512(i) does not apply to § 1512(b)(3). See United States v. Bailey,

405 F.3d 102 (1st Cir. 2005) (holding § 1512(f)(1), which refers to “official proceedings,” does

not apply to charges under § 1512(b)(3)). The rationale of Gonzalez (i.e., that “§ 1512([i]) provides

for venue in the place where the act was intended to have an effect”) also conflicts with United

States v. Seward, 967 F.3d 57, 60 (1st Cir. 2020), and United States v. Salinas, 373 F.3d 161, 164

(1st Cir. 2004), which held that venue analysis turns what a defendant is alleged to have done, not

what he may have intended.

       More recent cases – none of which the Opposition discusses – have widely rejected

Gonzalez. See, e.g., United States v. Ermoian, 752 F.3d 894, 901-02 & n.5 (9th Cir. 2013) (holding

“official proceeding” does not include “criminal investigation” by law enforcement agency), and

United States v. Ramos, 537 F.3d 439, 460-64 & n.17 (5th Cir. 2008) (same); see also United

States v. McDaniel, No. 2:13-cr-0015-RWS-JCF, 2013 U.S. Dist. LEXIS 187658, at *31-37 (N.D.
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Ga. Oct. 1, 2013) (collecting cases, rejecting Gonzalez, and ruling “the weight of contrary out-of-

circuit authority . . . provides persuasive support for concluding that an FBI investigation is not an

‘official proceeding’”). For example, in United States v. Binnette, 828 F. Supp. 2d 402 (D. Mass.

2011), the court ruled an agency investigation was not an official proceeding, followed Ramos

(which it “found persuasive”), and rejected pre-Enron cases, such as Gonzalez and United States

v. Kelley, 36 F.3d 1118, 1128 (D.C. Cir. 1994), that reached contrary conclusions based on an

earlier version of the statute. Thus, because the § 1512 charges in this case involve an FBI

investigation, not any “official proceeding,” the specific venue provision of § 1512(i) does not

apply, and this Court must apply the general venue rules.

       Turning to those general rules, the prosecution insists that it can proceed with its

§ 1512(b)(3) charges, because Baugh intended “to prevent information about the conspiracy from

getting to Massachusetts investigators.” Opp. 32. In support of that mistaken notion, the

prosecution relies on United States v. Salman, No. 6:17-cr-18, 2017 U.S. Dist. LEXIS 111235

(M.D. Fla. July 18, 2017), a poorly reasoned decision that expressly rejected United States v.

Salinas, 373 F.3d 161 (1st Cir. 2004), a binding precedential decision. This Court cannot and

should not following Salman, which erred in ruling that § 1519 is a “continuing offense” because

its intent element may implicate communications that are transmitted to any number of federal

districts.2 According to Salinas, an alleged violation of § 1519 is complete when – and where –

the false statement is made with the requisite intent.

       As noted above, venue analysis turns on “‘the conduct comprising the offense.’” Seward,

967 F.3d at 60 (1st Cir. 2020) (quoting Salinas, 373 F.3d at 164). An alleged intent to affect




2
 In reaching its flawed result, Salman relied on United States v. Angotti, 105 F.3d 539 (9th Cir.
1997), which as discussed above, the First Circuit has also rejected. See Salinas, 373 F.3d at 168.
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investigators (or anything else) in Massachusetts cannot establish venue for the purpose of

§ 1512(b)(3), a “point-in-time offense” which is complete when the alleged false statement is made

with the aim to prevent any communication to a federal investigator. Here, that conduct supposedly

happened in California, not Massachusetts. The prosecution is patently incorrect when it asserts:

“Massachusetts is accordingly a district in which the conduct constituting the alleged offense

occurred.” Opp. 33.

                                         CONCLUSION

       For the foregoing reasons, Defendant Jim Baugh respectfully requests that this Court

dismiss Counts X, XI, XIII, and XIV of the Indictment.


                                              Respectfully submitted,

                                              JIM BAUGH

                                              by his attorneys,

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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
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                                              /s/ Daniel N. Marx

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